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To Whom It May Concern,

Felicia Konold, dob 02/25/1994, is a pregnant patient under my care with an estimated
due date of 11/07/2021. Based on Felicia's history of preterm delivery and the fact that
delivery of any pregnancy 1s spontaneous, she can potentially deliver from now until 41
weeks gestation. If she has a vaginal delivery her recovery will be 6 weeks and a c-section
delivery will require 8 weeks recovery. Please contact my office if you have any further

questions.

Sincerely,

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qi Thad Decker, MD

 
